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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

Mon Cheri Bridals, LLC                         )
                                               )
v.                                             )    Case No.       19-cv-2362
                                               )
Does 1-464                                     )    Judge:         Hon. Jorge L. Alonso
                                               )
                                               )    Magistrate:    Hon. Young B. Kim
                                               )


                              SATISFACTION OF JUDGEMENT

        Plaintiff, in accordance with FRCP 60(b)(5), having reached a post-default settlement

agreement with the Doe Defendants listed below:

 Doe       Store Name                                              Store ID
 15        BONBETE BRIDAL                                          840030-bonbete-bridal
 23        Bridal Mall                                             A3TE2FMJZ92K1F
 33        Dobelove                                                AKLRAA6WYYDHY
 77        lovedressverymuch                                       557c2d285c8a3419ec599f49
 86        NewFex                                                  ACZDZAA3UU1JU
 101       Rudina Wedding Dress                                    A30UE28UKKPO7B
 103       Scarisee                                                A1OC3D18O1737R
 118       VDGTERW                                                 A1VAQPYIUCHG8F
 125       XingMeng                                                AB7K3MFREM821
 294       ludianmiao99                                            5857a0b6ef56284263a5954c
 389       szzheng102                                              59239576980a342e6dcb8290
 425       https://www.wish.com/merchant/yinyin                    58534f7c79b45e0b52ad2aa3
 428       ymddong                                                 593763a99dc28c2da4c413ac
 431       https://www.wish.com/merchant/yunchao                   5796e4f5ca8e8202f059ca15
 432       zhangshihao157                                          5a6dc8ffe2b88b1b7355c2d5



dismisses them from the suit with prejudice.

Dated this 16th Day of September, 2019.             Respectfully submitted,
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                                  By:     s/David Gulbransen/
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                                        Attorney of Record
                                        Counsel for Plaintiff

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